                                                                           U.S. msrr{rcT COURT--
Case 4:17-cr-00194-P   Document 389   Filed 02/26/18        Page 1 of 2 DISTRICT
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                  IN THE UNITED STATES DISTRICT COURT[- FE;-2
                       NORTHERN DISTRICT OF TEX S
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                           FORT WORTH DIVISION                   CLERK,             U.S. DISTRICT COURT                                         '

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UNITED STATES OF AMERICA              §
                                      §
vs.                                   §   NO. 4:17-CR-194-A
                                      §
ARNOLDO MORFIN-ARIAS, ET AL.          §



                            ORDER ACCEPTING
                   REPORT AND RECOMMENDATION OF THE
                    UNITED STATES MAGISTRATE JUDGE
                   AND ADJUDGING DE LA TORRE GUILTY

      After reviewing all relevant matters of record, including

the Consent to Administration of Guilty Plea and Allocution by

United States Magistrate Judge signed by defendant ALCADIO

CABALLERO DE LA TORRE ("De La Torre") on December 4, 2017, and

the Report and Recommendation on Plea Before United States

Magistrate Judge, and no objections thereto having been filed by

De La Torre, as contemplated by 28 U.S.C.          §   636(b) (1), the

undersigned district judge concludes that the report and

recommendation signed on December 4, 2017, by the magistrate

judge on plea of guilty is correct, and it is hereby accepted by

the court. Accordingly,

      The court finds that when De La Torre pleaded guilty before

the magistrate judge in the above-captioned case, he was fully

competent and capable of entering an informed plea, and that his

plea of guilty to the offense charged by Count One of the
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Superseding Indictment filed on October 18, 2017, was a knowing

and voluntary plea supported by an independent basis in fact

containing each of the essential elements of such offense and

that such plea did not result from force,          threats, or promises.

His plea of guilty to such offense is therefore accepted and he

is adjudged guilty of such offense.

     De La Torre's sentence will be imposed in accordance with

the court's scheduling order for sentencing signed December 4,

2017, by the United States Magistrate Judge, as modified by order

signed February 12, 2018, by the undersigned.

     The court SO ORDERS.

     SIGNED February 26, 2018.




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